          Case 4:12-cr-00040-JLH Document 36 Filed 06/13/12 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DISTRICT



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )                      4:12CR00040-3 JLH
                                              )
TAMARIO WASHINGTON                            )


                                             ORDER

       The government has filed a motion to revoke pretrial release (docket entry no. 34), and

the issue has been referred to the undersigned for disposition. The Clerk is directed to issue a

summons for the defendant to appear on this motion. The summons should direct the defendant

to appear on Thursday, June 21, 2012, at 9:30 a.m.

       IT IS SO ORDERED this 13          day of June, 2012.




                                                  UNITED STATES MAGISTRATE JUDGE
